UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                     Case No. 13-CR-83S (6)

              v.                             NOTICE OF MOTION

JOSE RIVERA,

                  Defendant.
__________________________________

MOTION BY:                           Timothy P. Murphy, Assistant Federal Public
                                     Defender, Attorney for Jose Rivera.

DATE, TIME & PLACE:                  At a date and time to be set before the Honorable
                                     William M. Skretny, U.S. Courthouse, Buffalo,
                                     New York.

SUPPORTING PAPERS:                   Declaration of Timothy P. Murphy, Esq., dated
                                     June 18, 2020, and all prior proceedings had
                                     herein.

                                     An order granting leave to supplement defendant’s
                                     pro se compassionate release pleadings (Docs. 670,
RELIEF REQUESTED:                    672); assignment of the Federal Public Defender’s
                                     Office as counsel herein; and a reduction of
                                     defendant’s sentence pursuant to 18 U.S.C. §
Dated: June 18, 2020                 3582(c)(1)(A)(i).
      Buffalo, New York
                                     /s/Timothy P. Murphy________
                                     Timothy P. Murphy
                                     Assistant Federal Public Defender - WDNY
                                     300 Pearl Street, Suite 200
                                     Buffalo, New York 14202
                                     (716) 551-3341
                                     timothy_murphy@fd.org
                                     Attorney for Jose Rivera
TO:   James P. Kennedy, Jr.
      US Attorney for the WDNY


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 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK
 ______________________________________

 UNITED STATES OF AMERICA,
                                                               No. 13-CR-83S (6)

                  v.                                           DECLARATION IN SUPPORT
                                                               OF MOTION TO REDUCE
 JOSE RIVERA,                                                  SENTENCE
                                                               (18 U.S.C. § 3582(c)).
                 Defendant.
 ______________________________________


Timothy P. Murphy, Esq., pursuant to 28 U.S.C. § 1746, declares:

   1. I am an assistant federal public defender for the WDNY. This declaration is respectfully

       submitted: (1) in supplement to, and in support of, the defendant’s pro se motion for

       compassionate release (“CR”) (Docs. 670, 672), and (2) for our office to be assigned as

       counsel on Mr. Rivera’s behalf pursuant to Chief Judge Geraci’s April 7, 2020 standing

       order. All allegations made in Mr. Rivera’s previous CR filings are hereby reaffirmed.

   2. As this submission is being filed subsequent to the Court’s June 16, 2020 scheduling

       order, Doc. 673, the defense does not object to the government having a few extra days to

       respond, beyond its present June 24th deadline.

   3. The factual basis for my allegations herein are from my phone conversation with Mr.

       Rivera, as well as my review of the pleadings and PSR in this matter and Mr. Rivera’s

       BOP medical records, which will be made available to the Court upon request.

   4. This declaration will primarily focus on Mr. Rivera’s health problems in light of his

       present living conditions, specifically his suffering from Type 2 Diabetes. Based on his

       present circumstances, including the pandemic and FCI Allenwood’s inadequate

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   protection of defendant’s well-being, this Court should reduce his sentence under the

   First Step Act and 18 U.S.C. § 3582(c)(1)(A)(i), as “extraordinary and compelling

   reasons warrant such a reduction.”

5. As this Court knows, because of the pandemic, “extraordinary and compelling” under §

   3582(c)(1)(A)(i) has naturally expanded to the ever-increasing risk of COVID-19 to

   inmates convicted in our District. See, e.g., United States v. Wen, 6:17-cr-06173-EAW,

   Doc. 107, 2020 U.S. Dist. 64395, at *2-3, 20-22 (W.D.N.Y. Apr. 13, 2020) (granting

   CR); United States v. Haynes, 6:18-cr-06015-EAW, Doc. 271 (W.D.N.Y. Apr. 14, 2020)

   (same); United States v. Bess, 1:16-cr-00156-LJV, Doc. 95 (W.D.N.Y. Apr. 21, 2020)

   (same); United States v. Lucas, 1:15-cr-00143-LJV, Doc. 1374 (W.D.N.Y. Apr. 22, 2020)

   (same); United States v. Cassidy, 1:17-cr-00116-WMS, Doc. 72 (W.D.N.Y. May 13,

   2020) (same); United States v. Schafer, 6:18-cr-06152-EAW, Doc. 55 (W.D.N.Y. May

   18, 2020) (same); United States v. Chester, 6:17-cr-06151-EAW, Doc. 51 (W.D.N.Y.

   May 28, 2020) (same); United States v. Rivera-Amaro, 1:18-cr-00183-EAW, Doc. 92

   (W.D.N.Y. June 4, 2020) (same); United States v. Flores, 6:19-cr-06163-DGL, Doc. 62

   (W.D.N.Y. June 8, 2020) (same).

6. Mr. Rivera, now 39 years of age, was sentenced by Your Honor on April 5, 2017 to 120

   months in prison, after pleading guilty to possession with intent to distribute heroin. He

   entered FCI Allenwood (low) in May of 2017.

7. Even in the best of times, a diabetic must closely monitor his or her Hemoglobin (also

   known as “HbA1c” or “A1c”) Test level. This is so because a high reading, which

   measures one’s average blood sugar level, places a diabetic at greater risk for suffering


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       diabetes-related complications and serious illness. 1 I spoke with Mr. Rivera by phone on

       June 12th, following his June 2nd pro se CR filing. (Doc. 670). Therein he described in

       detail his active diabetes condition. Mr. Rivera’s expressed concern for his well-being

       included his increased hemoglobin levels. He also opined that the facility was not

       providing him sufficient, or frequent enough, medication for his condition.

    8. The safe range for a diabetic is an HbA1c level of 7% or less. 2 Mr. Rivera’s medical

       records, however, confirm his concerns regarding his increased hemoglobin levels. See,

       e.g., BOP Medical Records, report, dated 5/12/20 (9.8 HMG A1c level); “Health Services

       Clinical Encounter” form, p. 1 of 2, dated 3/11/20 (13.4 HMG A1c level); “Health

       Services Clinical Encounter” form, p. 1 of 5, dated 2/20/20 (referencing his 12/20/19

       level of 13.4 and prior level of 13.7); “Health Services Clinical Encounter –

       Administrative Note” form, p. 1 of 1, dated 12/20/19 (referencing 13.4 HMG A1c level

       and 13.7 level in May of 2019); report, p. 2 of 2, dated 5/10/19 (13.7 HMG A1c level);

       report, p. 1 of 1, dated 2/26/19 (13.8 HMG A1c level); see also, PSR, ¶ 79 (discussing,

       among other things, Mr. Rivera’s discovery of his type 2 diabetes condition after being

       hospitalized in 2004).

    9. Though the dangers of being a diabetic have been widely reported throughout the time of

       this worldwide pandemic, the June 15, 2020 CDC Morbidity and Mortality Weekly



1 See, https://healthfully.com/dangers-high-hemoglobin-5154008.html (visited, 6/17/20);
https://www.webmd.com/diabetes/guide/glycated-hemoglobin-test-hba1c (visited 6/17/20).

2 See, Diabetes Self-Management site, https://www.diabetesselfmanagement.com/blog/a1c
measuring/?gclid=EAIaIQobChMIo_ClyJCJ6gIVBLLICh1_QgPsEAAYAyAAEgKiD_D_BwE
(visited 6/17/20).

                                                4
         Report reminds us just how much is at stake for those stricken with diabetes during this

         grave health emergency:

                As of May 30, 2020, among COVID-19 cases, the most common
                underlying health conditions were cardiovascular disease (32%),
                diabetes (30%), and chronic lung disease (18%). Hospitalizations
                were six times higher and deaths 12 times higher among those with
                reported underlying conditions compared with those with none
                reported. 3

         Mr. Rivera’s well-being is indeed in danger as he is housed in FCI Allenwood (low) as

         the coronavirus continues to spread.

     10. Living conditions are critical to this analysis. As of yesterday, 85 federal inmates have
                                                                         4
         died from COVID-19 and thousands more have been infected.           As he noted in our

         phone conversation and in his CR submission, Doc., 672 at 5, the defendant is being

         housed in cramped quarters, living just a few feet from other inmates, with only limited

         ability for exercising proper hygiene. Confinement creates the ideal environment for

         transmission of the virus, particularly for inmates with health problems, as:

                [c]ongregate settings such as jails and prisons allow for rapid
                spread of infectious diseases that are transmitted person to person,
                especially those passed by droplets through coughing and
                sneezing. When people must share dining halls, bathrooms,
                showers, and other common areas, the opportunities for
                transmission are greater. When infectious diseases are transmitted
                from person to person by droplets, the best initial strategy is to
                practice social distancing. When jailed or imprisoned, people have
                much less of an opportunity to protect themselves by social
                distancing than they would in the community…



3 See, https://www.cdc.gov/mmwr/volumes/69/wr/mm6924e2.htm?s_cid=mm6924e2_w
(emphasis added) (visited 6/17/20).

4   See, https://www.bop.gov/coronavirus/ (visited 6/17/20).

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   See, Declaration of Dr. Jaimie Meyer, Yale School of Med., March 15, 2020, United

   States v. Tovar, 1:19-cr-000341, Doc. 36, attach. 4, ¶ 9 (D. Idaho); see also, id. at Doc.

   No. 42, April 2, 2020 (ordering pre-trial release; finding COVID-19 a compelling basis).

11. Moreover, this Court is asked to consider Mr. Rivera’s administrative exhaustion

   arguments, e.g., Doc. 672 at 3, in light of Washington v. Barr, 925 F.3d 109, 118 (2d Cir.

   2019). Indeed, “[e]ven where [administrative] exhaustion is seemingly mandated by

   statute or decisional law, the requirement is not absolute.” Washington, 925 F.3d at 118.

   A court may waive an exhaustion requirement “where [exhaustion] would be futile, . . .

   where the administrative process would be incapable of granting adequate relief . . . [or]

   where pursuing agency review would subject [the person seeking relief] to undue

   prejudice.” Id. at 118-119; US v. Perez, 2020 U.S. Dist. Lexis 57265, at *5-7 (S.D.N.Y.

   Apr. 1, 2020) (following Washington principles). Mr. Rivera’s circumstances require an

   application of all three Washington exceptions.

12. With regards to his 18 U.S.C. § 3553(a) arguments, see, Doc. 672 at 9, Mr. Rivera

   relayed to me during our phone conversation that if released to home confinement, he

   would reside with his wife, Carmen Ortiz, and their two children, at 1517 Ashland

   Avenue, Niagara Falls, New York (zip code 14301). Carmen is a teacher with no criminal

   history. As Carmen’s parents both suffered from diabetes, she has always been

   instrumental in helping Mr. Rivera handle his chronic diabetic condition.

13. Finally, government responses to CR applications often default to the classic “flood gates

   opening” imagery of an en masse prison release. This Court is not charged with such a

   decision. The government won’t escape its constitutional responsibility to assure inmates


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       are reasonably safe, DeShanev v. Winnebago Co. Dep’t Soc. Serv’s, 489 U.S. 189, 199-

       200 (1993), through anecdotal exaggerations. Judicial answers to the pandemic are given

       one litigant at a time. Mr. Rivera, who has a serious health condition that makes him

       particularly vulnerable to an often deadly infectious disease, is in a facility that is not

       protecting him. As a result, no one is safe.

   14. Mr. Rivera’s CR application should be granted. If the Court seeks any further

       information, our office is more than happy to respond.



       WHEREFORE, Jose Rivera respectfully requests that this Court reduce his term of

imprisonment under 18 U.S.C. § 3582(c) to include supervised release, conditioned on home

confinement, and grant such further just and proper relief.



       I declare under penalty of perjury that the foregoing is true and correct.
       Executed on June 18, 2020, in Buffalo, New York.

                                       s/ Timothy P. Murphy
                                       ___________________________
                                       TIMOTHY P. MURPHY
                                       Assistant Federal Public Defender - WDNY




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